                       Case 1:06-cr-00292-WKW-SRW Document 125 Filed 02/11/08
  AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                               Page 1 of 6
                                                                            (NOTE: Identil Changes with Asterisks (*))
          Sheet 1


                                            UNITED STATES DISTRICT COURT
                           MIDDLE                                       District of                                ALABAMA

           UMTED STATES OF AMERICA                                               AMENDED JUDGMENT IN A CRIMINAL CASE
                     V.
                                                                                 Case Number:                  1 :06cr292-001-WKW
             ASHLEY LACHELL WHITLOCK                                                                           (WO)
                                                                                 USM Number:                   12141-002
Date of Original Judgment: February 7, 2008                                      Joseph Van Heest
(Or Date of Last Amended Judgment)                                               Defendant's Attorney
Reason for Amendment:
o Correction of Sentence on Remand (18 U.S.C. 3742(f)(l) and (2))                o Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
[I] Reduction of Sentence for Changed Circumstances (Fed. R. Crim.               0 Modification of Imposed Term of Imprisonment for Extraordinary and
   P.35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(l))
o Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            o Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                 to the Sentencing Guidelines (18 U.S.C. § 3582(cX2))

                                                                                 o Direct Motion to District Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                        18 U.S.C. § 3559(cX7)
                                                                                 o Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
X pleaded guilty to count(s) 1 of the Indictment on July 26, 2007
[1 pleaded nob contendere to count(s) ______________________________________________________________________________________
     which was accepted by the court.
o was found guilty on count(s) ______________
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                             Offense Ended      Count
21:846                           Conspiracy to Manufacture, Possess With Intent to Distribute 2/26/2007




        The defendant is sentenced as provided in pages 2                    6            of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s) _______________________________________________________________
o Count(s) ______________________________ 0 is 0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 January 30, 2008
                                                                                 DIjofJ


                                                                                 Signature of Judge
                                                                                 W. KEITH WATKINS, UNITED STATES DISTRICT JUDGE
                                                                                 Name and T le of Jud e

                                                                                 Date
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    A0 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
               Sheet 2— Imprisonment                                                                    (NOTE: Identifr Changes with Asterisks (*))
                                                                                                   Judgment - Page 2             of          6
    DEFENDANT:     ASHLEY LACHELL WHITLOCK
    CASE NUMBER: 1:06cr292-OO1-WKW

                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term

    32 Months




    X The court makes the following recommendations to the Bureau of Prisons:

         The Court recommends that defendant be designated to a facility where intensive drug treatment and vocation
         training are available.


    X The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
         0 at ____________________ 0 a.m. 0 p.m.                               on _______________________
         0 as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on

         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
    I have executed this judgment as follows:




        Defendantdelivered on ________________________________________ to ___________________________________________

/ a __________________________________ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                       By
                                                                                           DEPUTY UNITED STATES MARSHAL
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 3 - Supervised Release                                                                    (NOTE: Identif, Changes with Asterisks (*))
                                                                                                          Judgment—Page        3      of         6
DEFENDANT:      ASHLEY LACHELL WHITLOCK
CASE NUMBER: 1 :06cr292-O0 1 -WKW
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
5 Years




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0 The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
    student, as directed by the probation officer. (Check, if applicable.)
0 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
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AO 245C   (Rev. 06/05) Amended Judgment in a Criminal Case
          Sheet 3C - Supervised Release                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                       Judgment—Page       4      of         6
DEFENDANT:      ASHLEY LACHELL WHITLOCK
CASE NUMBER: 1 :06cr292-OO1-WKW

                                      SPECIAL CONDITIONS OF SUPERVISION


Defendant shall participate in a program approved by the United States Probation Office for substance abuse,
which may include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute
to the cost of any treatment based on ability to pay and the availability of third-party payments.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
court.
Defendant shall complete the educational requirements necessary to complete her GED.
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 AU 245C (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 5—Criminal Monetary Penalties                                                            (NOTE: 1dentif' Changes with Asterisks (*))
                                                                                                    Judgment - Page      5      of           6
 DEFENDANT:                      ASHLEY LACHELL WHITLOCK
 CASE NUMBER:                    1 :06cr292-0O1-WKW
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                     Fine                                 Restitution
 TOTALS           $ 100.00                                      $                                      $ 3,000.00 (Community) (*)


 o The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

 El The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3 664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                             Total Loss*                       Restitution Ordered                       Priority or Percenta
Alabama Crime Victim's                                                                   $1,950.00
Compensation Commission
ATTN: Collette Gray
P.O. Box 231267
Montgomery, AL 36123

Alabama Department of                                                                     $1,050.00
Mental Health and
Mental Retardation
ATTN: Kathleen Brantley
P.O. Box 301410
Montgomery, AL 36130




TOTALS$ ______________________                                          $                     30000


El Restitution amount ordered pursuant to plea agreement $ _______________________

El The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court detennined that the defendant does not have the ability to pay interest, and it is ordered that:
     X the interest requirement is waived for 0 fine X restitution.
     El the interest requirement for the 0 fme              0 restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
 AO 245C
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             (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 6— Schedule of Payments                                                                         (NOTE: Identif' Changes with Asterisks (*))
                                                                                                               Judgment - Page        6      of         6
 DEFENDANT:      ASHLEY LACHELL WHITLOCK
 CASE NUMBER: 1: 06cr292-00 1 -WKW


                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
 A X Lump sum payment of $ 3,100.00                             due immediately, balance due

            0 not later than _________________________ , or
                in accordance with 0 C, 0 D, 0 E, or X F below; or

 B 0 Payment to begin immediately (may be combined with                         C,        0 D, or 0 F below); or

 C 0 Payment in equal ___________ (e.g., weekly, monthly, quarterly) installments of $ ___________ over a period of
        ___________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after the date of this judgment; or

 D 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ __________ over a period of
        ___________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
         term of supervision; or

E D Payment during the term of supervised release will commence within _________ (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F x Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama,
           P.O. Box 711, Montgomery, AL 36101.
           Any balance remaining at the start of supervision shall be paid at the rate of not less than $50.00 per month to begin 60 days after release.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0 Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




0 The defendant shall pay the cost of prosecution.

0 The defendant shall pay the following court cost(s):

0 The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) commumty restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
